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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                              8:07CR451
                                    )
            v.                      )
                                    )
ELEAZAR PEREZ-DOMINGUEZ,            )                        PRELIMINARY ORDER
MARION T. DOMINGUEZ,                )                           OF FORFEITURE
                                    )
                  Defendants.       )
____________________________________)


               This matter is before the Court upon the United States' Motion for Issuance of

Preliminary Order of Forfeiture (Filing No. 36). The Court has reviewed the record in this case

and finds as follows:

               1. Defendants have entered into Plea Agreements, whereby they have agreed to

plead guilty to Counts I and VI of said Indictment. Count I of said Indictment charges the

defendants with conspiracy to distribute methamphetamine, a violation of 21 U.S.C. § 846.

Count VI of said Indictment charges the defendants with using $460.00 in United States currency

to facilitate the commission of the conspiracy and charges said personal property is derived from

proceeds obtained directly or indirectly as a result of the commission of the conspiracy.

               2. Pursuant to the Plea Agreement with defendant Perez-Dominguez, the parties

have agreed the defendant will forfeit $260.00. The parties have also agreed the remaining

$200.00 seized from the defendant will be returned to the defendant via a check from the United

States Marshals Service. Mr. Perez-Dominguez’s current mailing address is : c/o Douglas County

Correctional Center, 1710 S. 17th Street, Omaha, Nebraska 68102.
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               3. By virtue of said pleas of guilty, the defendants forfeit their interest in the

subject property, and the United States should be entitled to possession of said property, pursuant

to 21 U.S.C. § 853.

               4. The United States' Motion for Issuance of Preliminary Order of Forfeiture

should be sustained. Accordingly,

               IT IS ORDERED:

               A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is

hereby sustained.

               B. Based upon Count IV of the Indictment and the defendants’ pleas of guilty, the

United States is hereby authorized to seize the $460.00 in United States currency.

               C. The United States Marshals Service is hereby directed to return $200.00 of the

$460.00 to the defendant, Eleazar Perez-Dominguez, by delivering the same via a check to the

defendant c/o Douglas County Correctional Center, 1710 S. 17th Street, Omaha, Nebraska 68102.

               C. The defendants’ interests in said property are hereby forfeited to the United

States for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

§ 853(n)(1).

               D. The aforementioned forfeited property is to be held by the United States in its

secure custody and control.

               E. Pursuant to 21 U.S.C., § 853(n)(1), the United States forthwith shall publish at

least once for three successive weeks in a newspaper of general circulation, in the county where

the subject property is situated, notice of this Order, Notice of Publication evidencing the United

States’ intent to dispose of the property in such manner as the Attorney General may direct, and


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notice that any person, other than the defendants, having or claiming a legal interest in any of the

subject forfeited property must file a Petition with the court within thirty days of the final

publication of notice or of receipt of actual notice, whichever is earlier.

                F. Said published notice shall state the Petition referred to in Paragraph E., above,

shall be for a hearing to adjudicate the validity of the Petitioner's alleged interest in the property,

shall be signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent

of the Petitioner's right, title or interest in the subject property and any additional facts supporting

the Petitioner's claim and the relief sought.

                G. The United States may also, to the extent practicable, provide direct written

notice to any person known to have alleged an interest in the property subject to this Order as a

substitute for published notice as to those persons so notified.

                H. Upon adjudication of all third-party interests, this Court will enter a Final

Order of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

                DATED this 9th day of April, 2008.

                                                BY THE COURT:

                                                /s/ Lyle E. Strom

                                                LYLE E. STROM, Senior Judge
                                                United States District Court




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